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10                           UNITED STATES DISTRICT COURT
11                         SOUTHERN DISTRICT OF CALIFORNIA
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13    KHADIJAH Y. MEALS, et al.,                       Case No. 17-cv-01763-BAS-WVG
14                                   Plaintiffs,
                                                       ORDER GRANTING JOINT
15          v.                                         MOTION TO DISMISS
16    OCWEN LOAN SERVICING, LLC, et
                                                       [ECF No. 26]
      al.,
17
                                     Defendants.
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20         Presently before the Court is the parties’ joint motion to dismiss this action in its
21   entirety with prejudice. (ECF No. 26.) Having read the moving papers, and good cause
22   appearing, the Court GRANTS the joint motion and DISMISSES WITH PREJUDICE
23   this action. The Clerk of the Court is directed to close this case.
24         IT IS SO ORDERED.
25
26   DATED: February 20, 2018
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